Case: 1:18-cv-03935 Document #: 72-5 Filed: 11/12/21 Page 1 of 6 PageID #:664
Case: 1:18-cv-03935 Document #: 72-5 Filed: 11/12/21 Page 2 of 6 PageID #:665
Case: 1:18-cv-03935 Document #: 72-5 Filed: 11/12/21 Page 3 of 6 PageID #:666
Case: 1:18-cv-03935 Document #: 72-5 Filed: 11/12/21 Page 4 of 6 PageID #:667
Case: 1:18-cv-03935 Document #: 72-5 Filed: 11/12/21 Page 5 of 6 PageID #:668
Case: 1:18-cv-03935 Document #: 72-5 Filed: 11/12/21 Page 6 of 6 PageID #:669
